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 1 QUINN EMANUEL URQUHART &
    SULLIVAN, LLP
  Charles K. Verhoeven (Bar No. 170151)
    charlesverhoeven@quinnemanuel.com
  Kevin A. Smith (Bar No. 250814)
    kevinsmith@quinnemanuel.com
  50 California Street, 22nd Floor
    San Francisco, California 94111
  Telephone: (415) 875-6600
    Facsimile: (415) 875-6700
 
    Kevin P.B. Johnson (Bar No. 177129)
  kevinjohnson@quinnemanuel.com
    Victoria F. Maroulis (Bar No. 202603)
  victoriamaroulis@quinnemanuel.com
    555 Twin Dolphin Drive, 5th Floor
  Redwood Shores, California 94065
    Telephone: (650) 801-5000
 Facsimile: (650) 801-5100

 William C. Price (Bar No. 108542)
    williamprice@quinnemanuel.com
 Michael L. Fazio (Bar No. 228601)
    michaelfazio@quinnemanuel.com
 865 South Figueroa Street, 10th Floor
    Los Angeles, California 90017-2543
 Telephone: (213) 443-3000
    Facsimile: (213) 443-3100

    Attorneys for SAMSUNG ELECTRONICS
 CO., LTD., SAMSUNG ELECTRONICS
    AMERICA, INC. and SAMSUNG
 TELECOMMUNICATIONS AMERICA, LLC


                                  UNITED STATES DISTRICT COURT
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                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

      APPLE INC., a California corporation,       CASE NO. 12-CV-00630-LHK

                    Plaintiff,                    DECLARATION OF MICHAEL L. FAZIO
                                               IN SUPPORT OF SAMSUNG’S
             vs.                                  ADMINISTRATIVE MOTION TO FILE
                                               DOCUMENTS UNDER SEAL RELATING
    SAMSUNG ELECTRONICS CO., LTD., a              TO SAMSUNG’S OPPOSITION TO
 Korean business entity; SAMSUNG               APPLE’S MOTION FOR PARTIAL
    ELECTRONICS AMERICA, INC., a New              SUMMARY JUDGMENT
 York corporation; SAMSUNG
    TELECOMMUNICATIONS AMERICA,
 LLC, a Delaware limited liability company,
                 Defendants.

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                                                               Case No. 12-CV-00630-LHK (PSG)
     FAZIO DECLARATION IN SUPPORT OF SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
      UNDER SEAL RELATING TO SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY
                                                                                  JUDGMENT
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 1          I, Michael L. Fazio, declare:

 2          1.     I am a member of the State Bar of California, admitted to practice before this

 3 Court, and a partner at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for

 4 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 5 Telecommunications America, LLC (collectively, “Samsung”). I make this declaration of

 6 personal, firsthand knowledge, and if called and sworn as a witness, I could and would testify as

 7 set forth below.

 8          2.     Samsung submits this motion for an order to seal the following documents or

 9 portions thereof relating to Samsung’s Opposition to Apple’s Motion for Partial Summary

10 Judgment in order to protect information designated as “CONFIDENTIAL,” “HIGHLY

11 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – OUTSIDE

12 ATTORNEYS’ EYES ONLY – SOURCE CODE” under the Agreed Upon Protective Order

13 Regarding Disclosure and Use of Discovery Materials, or otherwise deemed confidential.

14          3.     The confidential, unredacted version of Samsung’s Opposition to Apple’s Motion

15 for Partial Summary Judgment, portions of which Samsung and Apple have designated as

16 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –

17 OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE” under the Protective Order entered

18 in this case, should be filed under seal as detailed in the accompanying Declaration of Daniel
19 Wooseob Shim.

20          4.     Exhibit 2 to the Declaration of Michael L. Fazio in Support of Samsung’s

21 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the deposition

22 transcript of Dr. Alex Snoeren, dated September 25-26, 2013, which Apple has designated as

23 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered

24 in this case or otherwise deemed confidential business information.

25          5.     Exhibit 3 to the Declaration of Michael L. Fazio in Support of Samsung’s

26 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the Opening
27 Expert Report of Dr. Alex Snoeren, dated August 12, 2013, which Apple has designated as

28
                                            -1-               Case No. 12-CV-00630-LHK (PSG)
     FAZIO DECLARATION IN SUPPORT OF SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
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 1 “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE”

 2 under the Protective Order entered in this case or otherwise deemed confidential business

 3 information, and should be filed under seal as detailed in the accompanying Declaration of Daniel

 4 Wooseob Shim.

 5          6.     Exhibit 4 to the Declaration of Michael L. Fazio in Support of Samsung’s

 6 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the Rebuttal

 7 Expert Report of Dr. Alex Snoeren, dated September 13, 2013, which Apple has designated as

 8 “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE”

 9 under the Protective Order entered in this case or otherwise deemed confidential business

10 information, and should be filed under seal as detailed in the accompanying Declaration of Daniel

11 Wooseob Shim.

12          7.     Exhibit 5 to the Declaration of Michael L. Fazio in Support of Samsung’s

13 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the deposition

14 transcript of Paul Westbrook, dated June 11, 2013, which Google Inc. has designated as

15 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered

16 in this case or otherwise deemed confidential business information.

17          8.     Exhibit 6 to the Declaration of Michael L. Fazio in Support of Samsung’s

18 Opposition to Apple’s Motion for Partial Summary Judgment contains Exhibit E to the Expert
19 Report of John Hauser, dated August 12, 2013, which Apple has designated as

20 “CONFIDENTIAL” under the Protective Order entered in this case or otherwise deemed

21 confidential business information, and Apple has further indicated Apple does not consent to the

22 public filing of the Hauser report.

23          9.     Exhibit 7 to the Declaration of Michael L. Fazio in Support of Samsung’s

24 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the deposition

25 transcript of Fred Quintana, dated June 13, 2013, which Google Inc. has designated as “HIGHLY

26 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered in this
27 case or otherwise deemed confidential business information.

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                                            -2-               Case No. 12-CV-00630-LHK (PSG)
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 1          10.    Exhibit 17 to the Declaration of Michael L. Fazio in Support of Samsung’s

 2 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the Opening

 3 Expert Report of Dr. Richard Taylor, dated August 12, 2013, which Apple has designated as

 4 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered

 5 in this case or otherwise deemed confidential business information.

 6          11.    Exhibit 18 to the Declaration of Michael L. Fazio in Support of Samsung’s

 7 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the deposition

 8 transcript of Dr. Richard Taylor, dated September 27, 2013, which Apple has designated as

 9 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered

10 in this case or otherwise deemed confidential business information.

11          12.    Exhibit 20 to the Declaration of Michael L. Fazio in Support of Samsung’s

12 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of Samsung’s

13 Invalidity Claim Chart For U.S. Patent No. 6,847,959, Exhibit C-21, which Apple has designated

14 as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order

15 entered in this case or otherwise deemed confidential business information.

16          13.    Exhibit 21 to the Declaration of Michael L. Fazio in Support of Samsung’s

17 Opposition to Apple’s Motion for Partial Summary Judgment contains excerpts of the Rebuttal

18 Expert Report of Dr. Richard Taylor, dated September 13, 2013, which Apple has designated as
19 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered

20 in this case or otherwise deemed confidential business information.

21          14.    The confidential, unredacted version of the Declaration of Dr. Kevin Jeffay in

22 Support of Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment Concerning

23 U.S. Patent No. 5,946,647, filed herewith, portions of which Samsung has designated as

24 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –

25 OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE” under the Protective Order entered

26 in this case, and should be filed under seal as detailed in the accompanying Declaration of Daniel
27 Wooseob Shim.

28
                                            -3-               Case No. 12-CV-00630-LHK (PSG)
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 1          15.    The confidential, unredacted version of the Declaration of Jeffrey S. Chase, Ph.D.,

 2 in Support of Samsung’s Opposition to Apple’s Motion for Summary Judgment, filed herewith,

 3 portions of which Samsung and Google Inc. have designated as “HIGHLY CONFIDENTIAL –

 4 ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’

 5 EYES ONLY – SOURCE CODE” under the Protective Order entered in this case, and should be

 6 filed under seal as detailed in the accompanying Declaration of Daniel Wooseob Shim.

 7          16.    The confidential, unredacted version of the Declaration of Paul Westbrook in

 8 Support of Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment, portions of

 9 which Google Inc. has designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

10 ONLY” or “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE

11 CODE” under the Protective Order entered in this case.

12          17.    The confidential, unredacted version of the Declaration of Martin Rinard in

13 Support of Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment, and

14 Exhibit 1 thereto, filed herewith, portions of which Apple has designated as “HIGHLY

15 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Protective Order entered in this

16 case or otherwise deemed confidential business information.

17          18.    The confidential, unredacted version of the Declaration of Professor Dan Schonfeld

18 In Support of Samsung’s Opposition to Apple’s Motion for Summary Judgment and to Exclude
19 Expert Testimony, and Exhibits D through EE, and Exhibit GG thereto, filed herewith, portions of

20 which Apple has designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

21 under the Protective Order entered in this case or otherwise deemed confidential business

22 information.

23          19.    Pursuant to L.R. 79-5, a copy of the unredacted version of each of the above has

24 been filed electronically with the Court and served on all parties.

25          20.    The requested relief is necessary and narrowly tailored to protect the confidentiality

26 of this information.
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                                            -4-               Case No. 12-CV-00630-LHK (PSG)
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 1         I declare under penalty of perjury that the foregoing is true and correct. Executed on

 2 November 1, 2013, at Los Angeles, California.

 3                                                  /s/ Michael L. Fazio
                                                    Michael L. Fazio
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                                            -5-               Case No. 12-CV-00630-LHK (PSG)
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 1                                          ATTESTATION
 2          I, Patrick D. Curran, am the ECF user whose ID and password are being used to file this

 3 Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Michael L. Fazio has

 4 concurred in this filing.

 5 Dated: November 1, 2013                          /s/ Patrick D. Curran
                                                    Patrick D. Curran
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                                            -6-               Case No. 12-CV-00630-LHK (PSG)
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